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                                                                        United States District Court
                                                                          Southern District of Texas

                                                                             ENTERED
                                                                         November 01, 2023
                      UNITED STATES DISTRICT COURT
                                                                          Nathan Ochsner, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

ROBERT APTER, ET AL.,         §
                              §
       Plaintiffs,            §
                              §
VS.                           §                          3:22-cv-184
                              §
U.S. DEPARTMENT OF HEALTH AND §
HUMAN SERVICES, ET AL.,       §
                              §
       Defendants.            §

                                     ORDER

      The court will hold a telephonic status conference for this case on

Wednesday, November 29, 2023, at 11:30 a.m. Counsel for each party are

ordered to participate in the conference. On Tuesday, November 28, 2023, the

parties are ordered to submit to the court a joint proposed docket-control order for

the case. The template for the court’s docket-control order can be found at:

https://www.txs.uscourts.gov/page/united-states-district-judge-jeffrey-v-brown.

      The pending motion for oral argument on the government’s motion to

dismiss, Dkt. 36, is hereby denied as moot.

      Signed on Galveston Island this 1st day of November, 2023.


                                      ______________________________
                                           JEFFREY VINCENT BROWN
                                        UNITED STATES DISTRICT JUDGE
